                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI


KEVIN STEPHENS                           )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )      4:16-cv-00056-RK
                                         )
VERIZON WIRELESS (VAW) LLC               )
                                         )
                                         )
      Defendant.                         )



                            NOTICE OF DISMISSAL

      Plaintiff respectfully requests the Court to dismiss all claims filed against

Defendant, WITH PREJUDICE, with each party to bear its own costs.



                                         Respectfully submitted,

                                         CREDIT LAW CENTER, LLC

                                         By: /s/ Andrew M. Esselman
                                         Andrew M. Esselman #64837
                                         255 NW Blue Parkway, Suite 200
                                         Lee's Summit, MO 64068
                                         Telephone: 816-994-6200
                                         Facsimile: 816-396-6240
                                         AndrewE@creditlawcenter.com

                                         Attorneys for Plaintiff




      Case 4:16-cv-00056-RK Document 3 Filed 03/24/16 Page 1 of 2
                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 24th day of March, 2016 a copy of

the foregoing was mailed, faxed, e-mailed or hand delivered to the following:

Thomas DiResta
Verizon Wireless (VAW) LLC
Thomas.DiResta@VerizonWireless.com

                                                    /s/ Andrew M. Esselman
                                                    Andrew M. Esselman
                                                    Attorney for Plaintiff




       Case 4:16-cv-00056-RK Document 3 Filed 03/24/16 Page 2 of 2
